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                                                                   Peter A. Moore, Jr., Clerk
                                                                   US District Court
                                                                   Eastern District of NC

WMG
                     UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION

                          NO.   5·- \C\-<£-4'3Z-\ FU'"4)

 UNITED STATES OF AMERICA                 )
                                          )
               V.                         )            INDICTMENT
                                          )
 CHARLES GILBERT MURPHY                   )


      The Grand Jury charges that:

                                 I. INTRODUCTION

      1.      CHARLES GILBERT MURPHY was an individual who resided and did

business in the Eastern District of North Carolina.     Murphy, both directly and

through the use of various entities and individuals, engaged in a number of frauds

and schemes to cause individuals and businesses to part with their money.

      2.      Toxic Solutions LLC ("Toxic Solutions"), Biological Marine Remediation

LLC ("Bio-Remediation"), Bio Marine Remediation LLC ("Bio-Marine"), Bio

Separation Systems, LLC ("Bio-Separation"), On-Site Solutions LLC ("On-Site

Solutions"), and On-Site Technologies LLC ("On-Site Technologies") were North

Carolina companies created by Murphy through the use of other individuals. These

companies are collectively referred to hereinafter as the "Murphy Entities." The

Murphy Entities generally purported to provide environmental cleanup services and



                                         1



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products in the Eastern District of North Carolina and elsewhere.      After 2017,

Murphy began to use On-Site Solutions, and On-Site Solutions doing business as On-

Site Technologies, for the purported purpose of selling high-end coffee machines to

gas stations and other companies.

      3.       Murphy was subject to collection efforti;l by the United States

Government arising from a prior fraud scheme, and had poor credit.      Therefore,

Murphy caused family members to open bank accounts for him in the name of the

Murphy Entities. Murphy then used these bank accounts to conduct his personal

business. Murphy also us~d family members to obtain and attempt to obtain loans

from lenders.

      4.       In an effort to obtain loan proceeds from banks and lenders, Murphy

created and caused to be created various false documents which were given to bank

and lender underwriters and agents in support of loans.     Such false documents

included false bank statements for Toxic Solutions, false tax returns for Toxic

Solutions, and false statements regarding revenue.

      5.       In addition to his attempts to obtain lender monies usmg false

documents, Murphy also used the Murphy Entities to obtain money from individuals

and entities under false and fraudulent pretenses. In general, Murphy represented

that the Murphy Entities performed environmental cleanup activities, such as water

remediation.    Murphy purported to offer to various entrepreneurial victims the

opportunity to purchase exclusive rights to perform environmental cleanup services


                                         2



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in a given geographic area.     Murphy also purported to sell the equipment necessary

to perform the cleanup services. In furtherance of the scheme, Murphy frequently

presented false documents to the entrepreneurs to make it appear that funds had

been allocated for services to be performed in the geographic area where the victims

had purchased the exclusive rights.         In reality, the documents justifying the

exclusive rights purchase were falsified, and Murphy took the money without

providing all of the equipment purchased.

         6.      After Murphy conducted the scheme in the name of one of the Murphy

Entities, he shifted the scheme to one of the other Murphy Entities to perpetuate the

fraud.

         7.      Murphy also began to use some of the Murphy Entities for the purposes

of obtaining merchant cash advances from commercial lenders. In doing so, Murphy

misrepresented, among other things, the revenues of his company, and the fact that

he had obtained other merchant cash advances.

         8.      In addition to the foregoing schemes upon lenders and individuals,

Murphy also conducted a fraud upon banks by presenting and causing to be presented

to the banks numerous false and fraudulent checks.

         9.      In July of 2018, the Federal Bureau of Investigation interviewed

Murphy concerning the foregoing schemes. After being warned that lying to the FBI

was a federal offense, Murphy nevertheless made numerous materially false and

fraudulent statements during the interview.


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                                  COUNTS 1 AND 2

       10.      Beginning at a time unknown, but no later than October of 2015, and

continuing to a time unknown, but no earlier than January of 2016, within the

Eastern District of North Carolina and elsewhere, the defendant, CHARLES

GILBERT MURPHY, aiding and abetting others known to the grand jury, knowingly

executed and attempted to execute a scheme to obtain any of the moneys, funds,

credits, assets, and other property owned by and under the custody and control of a

financial institution by means of materially false and fraudulent pretenses,

representations, and promises.

                                MANNER AND MEANS

       11.      Introductory paragraphs 1 through 9 are realleged and incorporated

into this count.

       12.      MURPHY caused a loan application to be submitted to each of the banks

referenced in the table below. The banks referenced in this Count were "financial

institutions" as that term is defined in Title 18, United States Code, Section 20.

These banks requested various information and documents during the loan

application and underwriting process.

       13.     MURPHY created and caused to be created the false and fraudulent

documents referenced in the table below. The false documents purported to show

the banks that the Murphy Entities possessed significant assets or revenue.   In fact,

as MURPHY then and there knew, the Murphy Entities did not possess the assets or


                                           4



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collect the revenues referenced, and the documents purporting to represent the same

were fabricated.

       14.      MURPHY transmitted and caused to be transmitted to the banks the

false and fraudulent documents in support of the loan referenced on each respective

line of the table below.

       15.      The banks referenced in the table below disbursed loan proceeds in

reliance upon the fraudulent documents referenced above.

       16.      Although Murphy caused the loan applications to be submitted in the

names of others, the loan proceeds were diverted to MURPHY, and MURPHY spent

the proceeds on his own personal interests. ·

       17.      Ultimately, the loans referenced in the table below went into default,

resulting in losses to the banks.

                            EXECUTION OF THE SCHEME

       18.      On or about the dates set forth in the table below, each entry

constituting a separate count of this Indictment, within the Eastern District of North

Carolina and elsewhere, the Defendant, CHARLES GILBERT MURPHY, aiding and

abetting others known to the grand jury, executed and attempted to execute the

scheme and artifice described above, in that, for each financial institution referenced

below, MURPHY caused to be transmitted the false documents referenced below, in

support of each loan referenced below:




                                           5




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 'COUNT              DATE          BANKLOAN               FALSE DOCUMENT(S)
                                                       (1) Trust       Atlantic     Bank
                                                           Statements for Toxic Solutions
                                                           fabricated in whole, and to
                                                           reflect     higher     account
                                                           balances;
                                                       (2) First Citizens Bank deposit
                                   $62,931 from            slip for Toxic Solutions
     1             10/9/2015
                                    WebBank                fabricated to reflect account
                                                           deposit exceeding $1 Million
                                                       (3) 2014     U.S.     Return     of
                                                           Partnership Income, Form
                                                           1065, for Toxic Solutions
                                                           fabricated to reflect gross
                                                           receipts of $950,445.
                                   $10,000 from     False loan application for Toxic
     2             12/2/2015       First Citizens   Solutions reflecting gross annual
                                       Bank         revenue of $350,000.

Each of the transactions identified in the foregoing table constituting a separate

violation of Title 18, United States Code, Sections 1344 and 2.

                                    COUNTS 3 AND 4

         19.     Paragraphs 1 through 17 are realleged and incorporated into this Count.

         20.     On or about the dates listed in the table below, each entry constituting

a separate count of this Indictment, in the Eastern District of North Carolina, and

elsewhere, CHARLES GILBERT MURPHY, defendant herein, aiding and abetting

others known to the grand jury, did knowingly make and cause to be made the false

statements and reports referenced in each row of the table below, for the purpose of

influencing in any way the action of the banks referenced in each row of the table

below, upon an application, advance, commitment, and loan from said banks:



                                             6



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  COUNT             . DATE        BANKLOAN                FALSE STATEMENT
                                                      (1) Toxic Solutions maintained
                                                          account balances at Trust
                                                          Atlantic Bank of $790,436;
                                                          $825,864; and $962,115 Ill
                                                          May, June, and July of 2015,
                                  $62,931 from            respectively;
     3              10/9/2015
                                   WebBank            (2) Toxic Solutions received a
                                                          $1,013,927.15 deposit into its
                                                          First Citizens Bank account on
                                                          October 9, 2015;
                                                      (1) Toxic Solutions had gross
                                                          receipts of $950,445 in 2014.
                                  $10,000 from
                                                   Toxic Solutions had gross annual
     4             11/17/2015     First Citizens
                                                   revenue of $350,000.
                                      Bank

          Each of the transactions identified in the foregoing table constituting a

separate violation of Title 18, United States Code, Sections 1014 and 2.

                                COUNTS 5 THROUGH 11

                                     THE SCHEME

         21.      Beginning at a time unknown, but no later than May of 2011 and

continuing to in or about January of 2018, in the Eastern District of North Carolina

and elsewhere, the Defendant, CHARLES GILBERT MURPHY devised and intended

to devise a scheme to defraud, and to obtain money and property by means of

materially false and fraudulent pretenses, representations and promises.

                                 MANNER AND MEANS

         22.     Introductory Paragraphs 1 through 9 are realleged and incorporated by

reference into this Count.

      23.        Murphy, operating through the Murphy Entities, used CraigsList and

                                            7



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other media to advertise the sale of a protected sales territory, and the sale of the

equipment necessary to operate an environmental cleanup business within the

protected territory. Murphy caused advertisements to be placed in, among other

places, Texas, Washington, and Pennsylvania.

       24.     Based upon the advertisements, individual entrepreneurs contacted

Murphy to inquire about the business and equipment. Murphy communicated with

the entrepreneurs by phone and email regarding the environmental cleanup business

and equipment.

       25.     In furtherance of the scheme, Murphy typically presented to the

entrepreneurs a "Letter of Agreement" in which Murphy agreed to "offer a protected

territory" to the entrepreneurs, and that "all sales using the equipment purchased in

this area are the property" of the entrepreneur. Murphy further represented that

he would "support and help secure enough customers to have positive cash flow when

equipment is delivered."    In at least one instance, Murphy represented that he would

make "all payments for buyer should cash flow not exceed payment at the time

payment is due."      Murphy also agreed to "train all buyer personal [sic] in sales,

delivery, and service of equipment."

      26.      In furtherance of the scheme Murphy frequently presented to the

entrepreneurs an invoice for the sale of, among other things, a "225 GPM Eco system

filtration system.    With Chemical Absorption, perforated concrete pass through
                                                           --
sedimentation.     Vertical filtration with control pit. Porous concrete Plus filter for


                                            8



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low PH pass through cyclonic storage." The purported cost of the equipment was

typically listed as $49,955. At the time of invoice, the entrepreneurs were only billed

for a deposit on the equipment, which was typically several thousand dollars.

Murphy promised to deliver the equipment a short time after payment.

      27.     In some instances, to carry out or perpetuate the scheme, Murphy

presented documents to the entrepreneurs to make it appear that funds had been

allocated for services to be performed in the geographic area where the victims had

purchased the exclusive rights. In reality, the documents were falsified.

      28.     The entrepreneurs believed Murphy's representations regarding the

positive cash flow he would generate or funds already allocated for environmental

cleanup in the "protected area."     The entrepreneurs further believed Murphy's

representations regarding the $49K in equipment to be delivered following payment

of their deposit. As such, the entrepreneurs paid Murphy the equipment deposits.

The investors made their deposit payment via interstate wire transfer or via check.

      29.     After payment of the deposit funds, however, Murphy did not deliver the

equipment as promised.       Murphy gave various excuses to the entrepreneurs

regarding the non-delivery of the equipment, but still never made delivery.

      30.     Ultimately, the entrepreneurs demanded the return of their deposit

monies and, in many instances, Murphy agreed to refund the money.             In fact,

however, Murphy did not return the entrepreneurs' money.         Eventually, Murphy

broke contact with the victims.


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         31.   Even though Murphy took victim monies without delivering the

promised equipment, Murphy continued to market the same investment in various

cities across the United States, resulting in losses to additional victims.

                                  USE OF THE WIRES

         32.    On or about each of the dates set forth below, in the Eastern District of

North Carolina and elsewhere, the defendant, CHARLES GILBERT MURPHY,

aiding and abetting others, for the purpose of executing the scheme described above,

and attempting to do so, caused to be transmitted by means of wire communication

in interstate commerce the signals and sounds described below for each count, each

transmission constituting a separate count:

 COUNT           DATE         VICTIM                          WIRE
                                            $2,000 wire transfer from Pennsylvania to
     5         1/13/2016         M.B.       Toxic Solutions bank account in North
                                            Carolina
                                            $2,760 wire transfer from California to
     6          2/8/2016         J.M.       Toxic Solutions bank account in North
                                            Carolina
                                            $2,775 wire transfer from Texas to Toxic
     7          3/9/2016         C.D.
                                            Solutions bank account in North Carolina
                                            Email            transmission          from
                                            Dave.onsitesolutions@gmail.com to J.H. in
    8          10/9/2017         J.H.       Pennsylvania containing fictitious award
                                            of $450,000 to On-Site Solutions and On-
                                            Site Technolgies from NCGreenfund.org
                                            Email            transmission          from
                                            Dave.onsitesolutions@gmail.com to J.H. in
                                            Pennsylvania        containing    fictitious
    9          10/21/2017        J.H.
                                            correspondence                         from
                                            j .1 uczaj@universitvwisconsingreenb ay. e du
                                            concerning strontium remediation
    10         11/14/2017        J.H.       Email            transmission          from


                                            10



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                                            Dave.onsitesolutions@gmail.com to J.H. in
                                            Pennsylvania      containing     fictitious
                                            correspondence                        from
                                            t.kabat@lacrossewisconsin.gov concerning
                                            presentation for contamination cleanup.
                                            Email          transmission           from
                                            Dave.onsitesolutions@gmail.com to J.H. in
                                            Pennsylvania      containing     fictitious
    11         11/19/2017        J.H.       correspondence from a "Bob Diamond" at
                                            b.diamond@e:ga.gov            concermng
                                            remediation and a Portland Superfund
                                            Site.

         Each entry in the foregoing table constituting a separate violation of Title 18,

United States Code, Sections 1343 and 2.

                                  COUNTS 12 AND 13

         33.   Paragraphs 21 through 32, are incorporated herein as though fully set

forth in this count.

         34.   On or about the dates set forth in the table below, in the Eastern District

of North Carolina and elsewhere, the defendant, CHARLES GILBERT MURPHY, did

knowingly possess and use, without lawful authority, a means of identification of

another person, to wit, the name of said other person, during and in relation to the

crime set forth in the corresponding count of this Indictment identified in the table

below, felony violations enumerated in Title 18, United States Code, Section

1028A(c),

  Count              Victim Initials               Date         Corresponding Count
   12                     J.L.                   10/21/2017              9
   13                     T.K.                   11/14/2017             10



                                            11



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Each count in the table above constituting a separate violation of Title 18, United

States Code, Section 1028A(a)(l).

                                COUNTS 14 AND 15

                                    THE SCHEME

      35.     Beginning at a time unknown, but no later than October 11, 2018, and

continuing to in or about October 22, 2018, in the Eastern District of North Carolina

and elsewhere, the Defendant, CHARLES GILBERT MURPHY devised and intended

to devise a scheme to defraud certain cash advance companies, specified herein, and

to obtain money and property from said cash advance companies, by means of

materially false and fraudulent pretenses, representations and promises.

                              MANNER AND MEANS

      36.     Introductory paragraphs 1 through 9 are realleged and incorporated by

reference into this Count:

      37.     In October of 2018, Murphy, operating in the name of On-Site Solutions

and On Site Technologies, applied for merchant cash advances from at least two

private lenders at virtually the same time. In both instances, Murphy falsified data

concerning the Murphy Entities, and in one instance, lied concerning the existence of

his nearly-simultaneous application for a second merchant cash advance.    The cash

advance companies relied upon Murphy's false representations in disbursing cash to

Murphy.     Upon receiving the cash, Murphy spent the funds on his own interests and

then defaulted, resulting in losses to the cash advance companies.


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      38.      On or about October 11, 2018 Murphy, operating as On Site Solutions,

presented a loan application to Uptown Commercial Capital ("Uptown").        Uptown

was a commercial lending intermediary located in New York. In his application for

a merchant cash advance through Uptown, Murphy was advised:

      By signing and faxing or emailing us your application, you certify that
      you are authorized to apply on behalf of the company whose full legal
      name appears under the Company Information portion of the Loan
      Application for a business loan from us and all information you provide
      within the loan Application and other supporting documents is true and
      complete and that you will notify us of material changes to such
      information.

      39.      Despite this acknowledgement, in his application with Uptown for a

$20,000 advance, Murphy represented, among other things, that On Site Solutions

had annual business revenue of $390,000. In fact, On Site Solutions did not have

revenue of this magnitude.    Nevertheless in reliance upon this information, Uptown

marketed the cash advance to Forward Financing SPV LLC, who in turn relied upon

the information in agreeing to advance $6,910.00 to Murphy.

      40.      Just four days after applying for the merchant cash advance through

Uptown, on October 15, 2018, Murphy signed an application with Metromedia

Funding for a second different merchant cash advance.   In that application, Murphy

certified that all information and documents submitted in support of the cash advance

were true correct and complete. Among other things, the application stated, "Do you

have any open funding?"        Metromedia Funding relied upon this and other

representations, and in turn brokered the cash advance to other lenders, including


                                         13



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Last Chance Funding Inc., doing business as The LCF Group (hereinafter "LCF") in

New York.

      41.      LCF reviewed and preliminary approved Murphy for a merchant cash

advance, relying upon the application that Murphy previously transmitted to

Metromedia Funding. Later on the same day, October 15, 2018, at around 1:00 pm,

Murphy executed a merchant cash advance agreement with LCF. In this agreement,

Murphy represented to LCF that "the information provided herein and in all of

[LCF's] documents, forms, and recorded interviews, is true, accurate and complete in

all respects." Murphy further acknowledged that misrepresentations in connection

with the cash advance agreement could result in legal action.

      42.      Three days later, on October 18, 2018, Forward Financing wired

$6,910.00 to Murphy's bank account.

      43.      The next day, on October 19, 2018, a representative from LCF contacted

Murphy via telephone to conduct a "merchant interview" prior to making a final

decision on Murphy's prior cash advance application to Metromedia Funding.

During this recorded phone call, the LCF representative asked Murphy, "Have you

signed any other contracts with any other funding companies in the past week?" to

which Murphy replied, "No, huh uh." The LCF representative then asked, "Do you

have any merchant cash advances out currently" to which Murphy replied, "No."

The LCF representative further asked, "Have you ever had a merchant cash

advance?" to which Murphy replied, "I have not." At no time did Murphy advise LCF


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that he had previously applied for and received a merchant cash advance from

Forward Financing.

      44.       Three days later, on October 22, 2018, another LCF representative

contacted Murphy to conduct a "funding call." During the course of this call, when

asked by the LCF representative, "Has anything changed since the merchant

interview?" Murphy replied, "No, not at all."

      45.       In reliance upon Murphy's false statements to LCF and Metromedia

Funding, on or about October 23, 2018, LCF disbursed $6,500 to Murphy as a

merchant cash advance.

      46. Murphy receive,d the funds referenced above from Forward Financing and

LCF. Murphy then spent the funds on his own interests. Murphy never repaid the

cash advances to Forward Financing and LCF, resulting in losses to those companies.

                                  USE OF THE WIRES

      4 7.      On or about each of the dates set forth below, in the Eastern District of

North Carolina and elsewhere, the defendant, CHARLES GILBERT MURPHY,

aiding & abetting others, for the purpose of executing the scheme described above,

and attempting to do so, caused to be transmitted by means of wire communication

in interstate commerce the signals and sounds described below for each count, each

transmission constituting a separate count:

 COUNT             DATE                                 WIRE
                                $6,910 wire transfer from Forward Financing Bank of
    14           10/18/2018     America account in Virginia to On-Site Solutions bank
                                account North Carolina.

                                            15



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                                 $6,500 wire transfer from LCF Wells Fargo bank
    15             10/23/2018    account in California to On-Site Solutions bank
                                 account in North Carolina.

         Each entry in the foregoing table constituting a separate violation of Title 18,

United States Code, Sections 1343 and 2.

                                COUNTS16THROUGH22

         48.      Beginning at a time unknown, but no later than January of 2019 and

continuing to a time unknown, but no earlier than March of 2019, within the Eastern

District of North Carolina, and elsewhere, the defendant, CHARLES GILBERT

MURPHY, knowingly executed and attempted to execute a scheme to obtain any of

the moneys, funds, credits, assets, and other property owned by and under the

custody and control of financial institutions, referenced herein, by means of

materially false and fraudulent pretenses, representations, and promises.

                                 MANNER AND MEANS

       49.        Introductory paragraphs 1 through 9 are realleged and incorporated

into this count.

       50.       Among other bank accounts, Murphy caused bank accounts to be opened

in the name of Murphy Entities at CresCom Bank and First National Bank of

Pennsylvania (FNB Pennsylvania).         The CresCom Bank and FNB Pennsylvania

were "financial institutions" as that term is defined in Title 18, United States Code,

Section 20.

      51.        Murphy created and caused to be created certain fraudulent checks,


                                            16



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referenced herein, each payable to Murphy or one of the Murphy Entities.

      52.      Murphy took the fraudulent checks to a local branch of either CresCom ·

Bank or FNB Pennsylvania within the Eastern District of North Carolina. Murphy

then deposited the fraudulent checks and withdrew the funds before the fraudulent

nature of the checks could be detected.

      53.      Upon discovery of the fraudulent nature of the checks, the banks

attempted to contact Murphy to recoup the monies, to no avail.

      54.      The banks attempted to charge the fraudulent checks back to Murphy's

accounts, however by that time there were insufficient funds in the accounts to cover

the loss, thereby causing substantial losses to the banks.

                             EXECUTION OF THE SCHEME

      55.      On or about the dates set forth in the table below, each entry

constituting a separate count of this Indictment, within the Eastern District of North

Carolina and elsewhere, the Defendant, CHARLES GILBERT MURPHY, aiding and

abetting others known to the grand jury, executed and attempted to execute the

scheme and artifice described above, in that; for each financial institution referenced

below, MURPHY knowingly caused to be deposited the following fraudulent checks

into accounts owned or controlled by Murphy:

 COUNT            DATE              '.aANK               FRAUDULENT CHECK
                                                  $2,000 check from Coldspring Co.,
    16           1/28/2019      CresCom Bank
                                                  Inc. payable to Charles Murphy
                                                  $2,075 check from Penfed Credit
    17           1/29/2019      CresCom Bank
                                                  Union payable to Charles Murphy
    18           1/30/2019      CresCom Bank      $1,500     check     from    Goksu

                                             17



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                                                Construction LLC payable to Charles
                                                Murphy
                                                $1,950 check from Capital City Bank
    19           1/30/2019      CresCom Bank
                                                payable to On Site Solutions LLC
                                    FNB         $1,560 check from TEFCU payable to
    20           2/13/2019
                                Pennsylvania    Charlie Murphy
                                   FNB          $5,860 check from Citibank payable
    21           2/15/2019
                                Pennsylvania    to On Site Solutions LLC
                                    FNB         $3,300 check from First Tennessee
    22           2/19/2019
                                Pennsylvania    Bank payable to Charlie Murphy

Each of the transactions identified in the foregoing table constituting a separate

violation of Title 18, United States Code, Sections 1344 and 2.

                                     COUNT 23

      56.      Introductory Paragraphs 1 through 20 are realleged and incorporated

by reference into this Count.


      57.      On or about July 25, 2018 the FBI interviewed Murphy concerning his

business dealings involving the Murphy Entities.      Among other things, the FBI

questioned Murphy regarding an October 9, 2015 loan from WebBank to his company,

Toxic Solutions, and showed him documents concerning the same.         At that time,

Murphy falsely claimed that he had no knowledge or recollection of such a loan.    In

fact, Murphy worked directly with loan intermediary M.A. to secure the loan and to

provide necessary documentation on the loan.


      58.     During the interview, an agent showed Murphy certain bank statements

and a deposit slip for Toxic Solutions that had been transmitted to WebBank to secure

the loan.    The deposit slip purported to show a deposit into a First Citizens Bank

                                         18



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account for Toxic Solutions which exceeded $1 Million.    Additionally, multiple Trust

Atlantic bank statements for Toxic Solutions purported to show that Toxic Solutions

maintained balances in excess of $790,000 between May and July of 2015.       Murphy

acknowledged that the deposit slip and bank statements were fake.       Nevertheless,

Murphy denied any involvement with the creation of the documents or their

transmission to WebBank in support of the loan.        Murphy also feigned a lack of

knowledge concerning the identity of M.A., but suggested to agents that M.A. may

have fabricated the statements.


      59.      In fact, as Murphy then and there knew, he caused a loan application to

be filed with WebBank through the loan intermediary, and further caused the

fabricated bank statements and deposit slip to be transmitted to the loan

intermediary, who in turn transmitted them to WebBank in support of the loan

application.


      60.      Therefore on or about July 25, 2018, in the Eastern District of North

Carolina, in a matter within the jurisdiction of the FBI, an agency within the

Executive Branch of the Government of the United States, the defendant, CHARLES

GILBERT MURPHY, did willfully and knowingly make materially false, fictitious,

and fraudulent statements and representations, to wit, that he had no knowledge of,

and was uninvolved in, WebBank's loan to Toxic Solutions, whereas the defendant

then and there knew that he caused the loan to be made and caused false documents



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to be transmitted in support of th~ loan, all in violation of Title 18, United States

Code, Section 1001(a)(2).


                                COUNTS24THROUGH26

         61.      Introductory Paragraphs 1 through 9 are realleged and incorporated by

reference into this Count.


         62.      On or about the dates listed in the table below, in the Eastern District

of North Carolina and elsewhere, CHARLES GILBERT MURPHY, defendant herein,

did willfully make and subscribe to each Form 1040 identified in each row of the table

below, each of which was verified by a written declaration that it was made under the

penalties of perjury and which CHARLES GILBERT MURPHY did not believe to be

true and correct as to the material matter identified in each row of the table below,

in that each Form 1040 which was electronically filed with the Director, Internal

Revenue Service Center, stated a false amount of total income identified below,

whereas MURPHY then and there knew_ that he had received thousands of dollars in

additional income in each tax year from the Murphy Entities.


                 FILING . .FORM 1040
 COUN';r                                            FALSE MATERIAL MATTER
                  DATE       YEAR
    24           4/14/2014       2013              Total income for 2013 was $13,114

    25           4/13/2015       2014              Total income for 2014 was $24,705
    26           4/14/2016       2015              Total income
                                                             ,, for 2015 was $15,252
Each row in the forgoing table constituting a separate violation of Title 26, United


                                              20



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States Code, Section 7206(1).


                                FORFEITURE NOTICE

       The defendant is hereby given notice that the defendant's interest m all

property specified herein is subject to forfeiture.

       Upon conviction of any of the offense(s) set forth in Counts One through Four,

and/or Sixteen through Twenty-Two of the foregoing Indictment, the defendant shall

forfeit to the United States, pursuant to Title 18, United States Code, Section

982(a)(2), any property constituting, or derived from, proceeds the person obtained

directly or indirectly, as result of such offense(s).

       Upon conviction of any of the offense(s) set forth in Counts Five through

Fifteen, the defendant shall forfeit to the United States, pursuant to Title 18, United

States Code, Section 981(a)(l)(C), as made applicable by Title 18, United States Code,

Section 2461(c)), any property, real or personal, which constitutes or is derived from

proceeds traceable to the offense(s).

       Upon conviction of any of the offense(s) set forth in Count Twenty-Three, the

defendant shall forfeit to the United States, pursuant to Title 18, United States Code,

Section 982(a)(3), any property, real or personal, which represents or is traceable to

any property, real or personal, tangible or intangible, which is obtained, directly or

indirectly, as a result of such offense.

      The forfeitable property includes, but is not limited to, the gross proceeds of

the foregoing offenses that were personally obtained by the defendant.

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      If any of the above-described forfeitable property, as a result of any act or

omission of the defendants --

      (1) cannot be located upon the exercise of due diligence;

      (2) has been transferred or sold to, or deposited with, a

           third person;

      (3) has been placed beyond the jurisdiction of the court;

      (4) has been substantially diminished in value; or

      (5) has been commingled with other property which cannot be subdivided

      without difficulty --

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p) (made applicable by Title 18, United States Code, Sections 982(b)(l) or Title

28, United States Code, Section 2461(c)), to seek forfeiture of any other property of

said defendant up to the value of the above forfeitable property.

                                        A TRUE BILL
                                                                    /

                                       . FOREPERSON-·       ?" __________________ ,

                                        DATE:      /D/,?/14..
ROBERT J. HIGDON, JR.
United States Attorney



   L~
BY: WILL!.AMM.~ .
Assistant United States Attorney



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